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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                               Tampa Division

                        Case No.: 8:21-cv-02956-MSS-SPF

MICHAEL FLYNN,

      Plaintiff,

v.

NANCY PELOSI, in her official capacity as
Speaker of the United States House of
Representatives, et al.,


     Defendants.
_________________________________________/

                     NOTICE OF VOLUNTARY DISMISSAL
                      PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

      PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, Plaintiff Lieutenant General Michael Flynn hereby

dismisses his Complaint without prejudice in the above-captioned action as to all

Defendants. No Defendant has filed an answer or a motion for summary judgment

herein.




                            [signature page to follow]
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Dated: March 17, 2022       Respectfully submitted,



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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 17, 2022, I caused the foregoing document to

be filed via the CM/ECF system for the U.S. District Court for the Middle District

of Florida, which I understand caused a copy to be served on all registered parties.

                                       /s/ Matthew Sarelson
                                       Matthew Seth Sarelson, Esq.
